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OT FILED: JUNDER SEAL (E-GOVT ACT) CH
Place of-Offense: Under Seal Judge Assigned:
City: |N/A (extraterritorial) Superseding Indictment: Criminal No. 1:19-MJ- 2 )
County:|N/A (extraterritorial) Same Defendant: New Defendant:
Magistrate Judge Case No. Arraignment Date:
Search Warrant Case No. R. 20/R. 40 From:
Defendant Information:
Defendant Name:|Allison Elizabeth Fluke-Ekren Alias(es):|Umm Mohammed [1] Juvenile FBI No|857253JC9
Address: N/A (may be located in Syria)
Employment: N/A
Birth Date: |XXXXX/1979 | SSN: [XXXXXXX9852 Sex: (Female Race: |White Nationality: |USA
Place of Birth: Lawrence, KS_ | Height:/5'6" | Weight:/135 Hair:|Brown | Eyes:|Blue Scars/Tattoos:
(J Interpreter Language/Dialect:|N/A Auto Description: |N/A
Location/Status:
Arrest Date: [-] Already in Federal Custody as of: in:
[_] Already in State Custody [_] On Pretrial Release Not in Custody
Arrest Warrant Requested (| Fugitive [_] Summons Requested
[_] Arrest Warrant Pending LJ Detention Sought [-] Bond
Defense Counsel Information:
Name: |N/A [-] Court Appointed Counsel Conflicts:
Address: [_] Retained
Phone: [_] Public Defender [] Federal Public Conflicted Out
U.S. Attorney Information:
AUSA(s): |Raj Parekh and John Gibbs Phone: |(703) 299-3725 Bar No.

 

 

 

 

 

 

 

 

Complainant Agency - Address & Phone No. or Person & Title:

 

Federal Bureau of investigation, Washington Field Office, 9325 Discovery Blvd, Manassas, VA 20109

 

 

 

 

 

U.S.C. Citations: Code/Section Offense Charged Count(s) Capital/Felony/Misd./Petty
Set 1: 18 U.S.C. 2339B Providing Material Support to ISIS 1 Felony
Set 2:

 

 

 

 

 

 

 

 

 

 

Date: 5/15/2019 AUSA Signature: i, d ' yy = may be continued on reverse

 

 

 
Case 1:19-mj-00231-TCB Document6_ Filed 05/15/19 Page 2 of 2 PageID# 26
District Court Case Number (to be filled by deputy clerk):

U.S.C. Citations: Code/Section Offense Charged Count(s) Capital/Felony/Misd./Petty

 

 

 

 

Set 3:

 

 

Set 4:

 

 

Set 5:

 

 

Set 6:

 

 

Set 7:

 

 

Set 8:

 

 

Set 9:

 

 

Set 10:

 

 

Set 11:

 

 

Set 12:

 

 

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Set 25:

 

 

 

 

 

 

 

 

 

   
